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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA

Wave Petroleum Operating, LLC,                  )
                                                )
                 Plaintiff,                     )
                                                )        ORDER
       vs.                                      )
                                                )
New IPT, Inc.,                                  )
                                                )
                 Defendant and Third-Party      )
                 Plaintiff,                     )
                                                )
       vs.                                      )
                                                )        Case No. 1:19-cv-272
Liberty Oilfield Services, LLC; and Ed          )
Cooper Consulting, Inc.,                        )
                                                )
                 Third-Party Defendants.        )


       On September 28, 2021, the parties filed a “Second Stipulation to Amend the Joint Proposed

Scheduling/Discovery Plan and to Vacate and Reset Trial.” The court ADOPTS the parties’

stipulation (Doc. No. 68) and amends the pretrial deadlines as follows:

       1.        The deadlines to name expert witnesses and complete reports are as follows:

                 a.      June 30, 2022, for Plaintiff;

                 b.      July 31, 2022, for Defendant and Third-Party Plaintiff; and

                 c.      August 31, 2022, for Third-Party Defendants.

       2.        The parties shall have until October 31, 2022, to complete fact and expert discovery

                 and file any discovery motions.

       3.        The parties shall have until December 31, 2022, to file dispositive motions (summary

                 judgment as to all or part of the case).


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The final pretrial conference scheduled for September 13, 2022, shall be rescheduled for October

3, 2023, at 9:00 AM before the magistrate judge by telephone. To participate in the conference, the

parties are to call (877) 810-9415 and enter access code 8992581. The jury trial scheduled for

September 26, 2022, shall be rescheduled for October 16, 2023, at 9:00 AM in Bismarck before

Judge Hovland. A six (6) day trial is anticipated.

       IT IS SO ORDERED.

       Dated this 29th day of September, 2021.

                                                     /s/ Clare R. Hochhalter
                                                     Clare R. Hochhalter, Magistrate Judge
                                                     United States District Court




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